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            EXHIBIT 1-K
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                                   DEPARTMENT OF DEFENSE
                               OFFICE OF THE GENERAL COUNSEL
                                        1600 DEFENSE PENTAGON
                                       WASHINGTON, DC 20301-1600




                                                                                AUG 2 2 2811
VIA U.S. MAIL AND EMAIL

Mark S. Zaid
1250 Connecticut Ave., NW
Washington, DC 20036


Dear Mr. Zaid:

       I write again regarding your client CDR Guy M. Snodgrass (Ret.) and his intent to
publish a book titled Holding the Line: Inside Trump's Pentagon with General Mattis.

       As reflected in prior correspondence, CDR Snodgrass asserts that in preparing the
manuscript he relied on "meticulous notes from his seventeen months working with [Secretary]
Mattis." Indeed, the manuscript contains numerous detailed quotations of statements that
Secretary Mattis and other senior government leaders ostensibly made at meetings that CDR
Snodgrass attended. In addition, we understand that CDR Snodgrass regularly took notes in
black Moleskine notebooks that he brought to practically every official meeting. To date,
however, we have been unable to locate these notebooks or any other written records from which
CDR Snodgrass could have drawn the extensive quotations and first-hand historical accounts
purportedly documented in Holding the Line.

        As you know, any such notebooks and other materials created in the course of
Department of Defense business are federal records, which CDR Snodgrass was obligated to
preserve and leave behind when he departed federal service. See 36 C.F.R. ch. XII, subch. B;
DoD Instruction 5015.02, DoD Records Management Program§ 3.1. and Encl. 2, § 3.t. (Aug. 17,
2017). CDR Snodgrass did not submit any requests to remove these or other official records
upon his departure. Accordingly, we ask that you make immediate arrangements for the return
of any and all notebooks, written records, or other tangible items from CDR Snodgrass relating
to his official duties as a member of Secretary Mattis' s staff, including any copies of such
materials. If nothing fitting this description is currently in his possession, we ask that CDR
Snodgrass provide the names of the persons to whom he gave the records and that he provide any
other information relating to his handling of these records upon his departure so that the
Department can locate them. (Of course, the absence of any such records may raise questions
regarding the accuracy of the extensive quotations in the manuscript.)

       The issue of the location of these federal records is related to, but distinct from, the
review of the manuscript by the Defense Office of Prepublication and Security Review. We
understand that CDR Snodgrass is in contact with that office directly regarding the review.




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       I would appreciate your response by August 26. You may contact me with any questions.
(Mr. Alci Ortiz of my office is on leave until next week.)



                                              Sincerely,




                                              Robert E. Easton
                                              Director, Office of Litigation Counsel




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